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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES of AMERICA,                        :
                                                 :
       Plaintiff/Respondent,                     :   Criminal No.04:05CR40024
                                                 :
vs.                                              :
                                                 :
AMANDA WORTMAN,                                  :
                                                 :
       Defendant/Petitioner.                     :

                               MEMORANDUM AND ORDER

       Before the Court is the government’s motion to revoke defendant Amanda Wortman’s

(“Wortman”) bond pending appeal (Doc. 152). On December 14, 2006, the Court allowed

Wortman to be released on bond pending the resolution of the appeal of her criminal case,

finding that under the Bail Reform Act of 1984, 18 U.S.C. § 3143(b), she had shown (1) by clear

and convincing evidence that she was not likely to flee or be dangerous if released, (2) that her

appeal presented a substantial question of law or fact, and (3) that the appellate court was more

likely than not going to reverse the conviction or order a new trial on all counts. See United

States v. Bilanzich, 771 F.2d 292, 298 (7th Cir. 1985). Since then, on June 8, 2007, the Court of

Appeals has upheld Wortman’s conviction, although it has not yet issued its mandate.

       The Court is no longer convinced of the third factor necessary for release under 18

U.S.C. § 3143(b)(1) – that the appellate court is more likely than not going to reverse the

conviction or order a new trial on all counts. Indeed, the Court of Appeals has affirmed

Wortman’s conviction. Accordingly, Wortman’s release on bond is no longer appropriate. The

Court hereby GRANTS the government’s motion (Doc. 152) and ORDERS Wortman to report
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to the United States Marshal Service in Benton, Illinois, on or before June 18, 2007, at 1:30 p.m.

to be taken into custody and to resume serving her sentence.

IT IS SO ORDERED.
DATED: June 14, 2007

                                                                    s/ J. Phil Gilbert
                                                                    J. PHIL GILBERT
                                                                    DISTRICT JUDGE




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